              IN THE COMMON PLEAS COURT OF WARREN COUNTY,OHIO

CARL OEDER & SONS SAND & GRAVEL :                            CASE NO. 01 CV 58786
CO., et al.
                                                             JUDGE FEDDERS
                Plaintiffs


vs.




VILLAGE OF SOUTH LEBANON, OHIO,                              ANSWER OF DEFENDANTS.
et al.                                                       VILI.AGE OF SOUTH LEBANON,
                                                             JAMES SMITH. MAYOR,AND
                Defendants                                   JOHN LOUALLEN




              Defendants, Village of South Lebanon, James Smith, Mayor of Village of South
Lebanon, John Louallen, Village Administrator, and John Louallen, Individually, for their answer to
Plaintiffs' Complaint, slate as follows:

                                           FIRST DEFENSE


                1. These defendants are without knowledge or infomiation sufficient to fonn a belief
as to the allegations contained in paragraphs 1, 2 and 3 of Plaintiffs' Complaint.

                2. These defendants admit the allegations contained in paragraphs 4 and 5 of
Plaintiffs' Complaint.

                3. These defendants are without knowledge or infomiation sufficient to fonn a belief
as to the allegations contained in paragraph 6 of Plaintiffs' Complaint.

                4. In response to the allegations contained in paragraph 7 of Plaintiffs' Complaint,
these defendants admit that John Louallen is the Village Administrator for the Village of South
Lebanon, Warren County, Ohio. These defendants are without knowledge or infomiation sufficient
to fomi a belief as to any and all remaining allegations contained in that paragraph.

                5. These defendants are without knowledge or infomiation sufficient to form a belief
as to the allegations contained in paragraph 8 of Plaintiffs' Complaint.



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               6. These defendants admit the allegations contained in paragraph 9 of Plaintiffs'
Complaint.

               7. These defendants are without knowledge or information sufficient to form a belief
as to the allegations contained in paragraph 10 of Plaintiffs' Complaint.

               8. These defendants are without knowledge or infonnation sufficient to form a belief
as to the allegations contained in paragraphs 11, 12, 13, 14, 15 and 16 of Plaintiffs' Complaint.
               9. In response to the allegations contained in paragraph 17 of Plaintiffs' Complaint,
these defendants admit that an ordinance captioned 2001-12 for the Village of South Lebanon is in
existence. These defendants further admit that portions ofthe ordinance are quoted in that paragraph.
These defendants deny any and all other allegations contained in that paragraph.

             10. These defendants are without knowledge or information sufficient to form a belief
as to the allegations contained in paragraphs 18 and 19 of Plaintiffs' Complaint.

              11. These defendants deny the allegations contained in paragraphs 20, 21, 22, 23, 24,
25, 26, 27, 28, 29, 30 and 31 of Plaintiffs' Complaint.

              12. These defendants are without knowledge or infonnation sufficient to form a belief
as to the allegations contained in paragraph 32 of Plaintiffs' Complaint.

             13. In response to the allegations contained in paragraph 33 of Plaintiffs' Complaint,
these defendants admit that a previous ordinance. No. 2000-15, was in existence and that such
ordinance was held to be unconstitutional by a decision of the Warren County Common Pleas Court.
These defendants further acknowledge that decision has been appealed and is now pending appeal
with the Court of Appeals for the Twelfth District Court of Appeals in Ohio. These defendants are
without knowledge or infomiation sufficient to fomi a belief as to any and all remaining allegations
contained in that paragraph.

             14. In response to the allegations contained in paragraph 34 of Plaintiffs' Complaint,
these defendants deny that Ordinance No. 2000-15 was in any way unconstitutional or contained any
infirmities. These defendants further deny any and all remaining allegations contained in that
paragraph.

             15. These defendants deny the allegations contained in paragraphs 35, 36, 37 and 38
of Plaintiffs' Complaint.

             16. In response to the incorporated allegations contained in paragraph 39 of Plaintiffs'
Complaint, these defendants incorporate their previous answers and responses to incorporated
paragraphs 1 through 38 as if fully set forth herein.




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             17. These defendants deny the allegations contained in paragraphs 40, 41 and 42 of
Plaintiffs' Complaint.

            18. hi response to the incorporated allegations contained in paragraph 43 ofPlaintiffs'
Complaint, these defendants incorporate their previous answers and responses to incorporated
paragraphs 1 tlirough 42 as if fully set forth herein.

              19. These defendants deny the allegations contained in paragraphs 44, 45 and 46 of
Plaintiffs' Complaint.

            20. In response to the incorporated allegations contained in paragraph 47 ofPlaintiffs'
Complaint, these defendants incorporate their previous answers and responses to incorporated
paragraphs 1 through 46 as if fully set forth herein.

             21. These defendants deny the allegations contained in paragraphs 48 and 49 of
Plaintiffs' Complaint.

            22. In response to the incorporated allegations contained in paragraph 50 of Plaintiffs'
Complaint, these defendants incorporate their previous answers and responses to incoiporated
paragraphs 1 tlirough 49 as if fully set forth herein.

             23. These defendants deny the allegations contained in paragraph 51 of Plaintiffs'
Complaint.

            24. hi response to the incorporated allegations contained in paragraph 52 of Plaintiffs'
Complaint, these defendants incorporate their previous answers and responses to incorporated
paragraphs 1 through 51 as if fully set forth herein.

              25. These defendants deny the allegations contained in paragraphs 53 and 54 of
Plaintiffs' Complaint.

            26. In response to the incorporated allegations contained in paragraph 55 of Plaintiffs
Complaint, these defendants incorporate their previous answers and responses to incorporated
paragraphs 1 through 54 as if fully set forth herein.

              27. These defendants are without knowledge or information sufficient to form a belief
as to the allegations contained in paragraph 56 of Plaintiffs' Complaint.

              28. These defendants deny the allegations contained in paragraphs 57 and 58 of
Plaintiffs' Complaint.

              29. These defendants deny all additional allegations contained in the Complaint not
herein referenced or responded to and further deny any and all allegations or requests conlained in
any prayer in Plaintiffs' Complaint.




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                                       SECOND DEFENSE


             30. Plaintiffs' have failed to state a elaim upon which relief may be granted.

                                        THIRD DEFENSE


             31. These defendants are equitably immune from liability in the exercise of their
legislative function.

                                       FOURTH DEFENSE


             32. These defendants are immune from liability pursuant to Ohio Revised Code § 2744,
et seq.


                                         FIFTH DEFENSE


             33. These defendants are immune from liability for the exercise of any executive
functions and the enforcement of properly enacted legislation.

                                         SIXTH DEFENSE


             34. The plaintiffs have failed to mitigate their damages, if any.

                                      SFVFNTH DEFENSE


             35. Some or all of the plaintiffs herein lack standing to assert these claims.

                                        EIGHTH DEFENSE


             36. Plaintiffs have failed to join necessary parties to this action pursuant to Rules 19
and 19.1.


                                         NINTH DEFENSE


              37. The plaintiffs' claims are barred by the doctrine of equitable estoppel.

                                        TENTH DEFENSE


              38. Plaintiffs have failed to comply with all statutory requirements for asserting a claim
for declaratory relief and challenging the unconstitutionality ofa law, statute or ordinance, including,
but not limited to, those requirements set forth in R.C. 2721.12.




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                                    FT FVFNTH DEFENSE


             39. These defendants are qualifiedly immune from ail liability.

                                    TWFT.FTH DEFENSE


             40. These defendants are entitled to legislative immunity under both state and federal
law.


                                  THIRTEENTH DEFENSE


             41. There has been a failure to exhaust any and all administrative remedies.

                                  FOURTEENTH DEFENSE


             42. These defendants are immune for the perfonnance of any and all administrative
functions.


               WHEREFORE,Defendants pray Plaintiffs' Complaint be dismissed at Plaintiffs'cost.




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                                                   Village ofSouth Lebanon,James Smith,Mayor, and
                                                   John Louallen, Administrator and Individually




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                                       JURY DEMAND


               Defendant, Village of South Lebanon, Ohio, demands trial by jury as to all issues
herein.




                                                  Shawn M.Blatt(#0056051)
                                                  FREUND,FREEZE & ARNOLD
                                                  Attorney for Defendants
                                                  Village ofSouth Lebanon,James Smith, Mayor,and
                                                  Jolin Louallen, Administrator and Individually


                                CERTIFICATE OF SERVICE


                It is hereby certified that a copy of the foregoing was served upon Brian P. Barger,
Jack J. Brady, and Patricia J. KJeeberger, Attorneys for Plaintiffs, BRADY,COYLE & SCHMIDT,
LLP, 4052 Holland-Sylvania Road, Toledo, Ohio 43624, and Steven G. LaForge, Attorney for
Thomas Arris, Wanen County Sheriff, ISAAC, BRANT,LEDMAN & 1EETOR,250 East Broad
Street, Columbus, Ohio 43215-3742, by regular U.S. mail, this M          day of November, 2001.



                                                  Shawn M. Blatt




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